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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF RHODE ISLAND
______________________________
                              )
WILBERT L. RICHARDSON,        )
                              )
     Plaintiff,               )
                              )
          v.                  )    C.A. No. 18-253
                              )
CITY OF PROVIDENCE, by and    )
through its treasurer, James )
J. Lombardi, III, alias;      )
EMILIO MATOS, alias, in his   )
individual and official       )
capacity as a Providence      )
Police officer; the STATE OF )
RHODE ISLAND; and JOHN DOES   )
1-10, individually and in     )
their official capacities,    )
                              )
     Defendants.              )
______________________________)

                                     ORDER

WILLIAM E. SMITH, Chief Judge.

      Before the Court is Defendant State of Rhode Island’s Motion to

Dismiss    and   for   Judgment   Pursuant   to   Rule   54(b)   (ECF   No.   12)

(“State’s Motion”).      Plaintiff opposed that Motion (ECF No. 15) and

the State filed a Reply (ECF No. 17).        For the reasons stated herein,

the State’s Motion is granted.

I.    Factual Background

       This case arises out of the 2013 arrest and indictment of

Plaintiff due to his suspected involvement in a deadly home-invasion

robbery.     Plaintiff claims that he was arrested despite the fact



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that he did not match the description of the perpetrator and that

the complaining witness was not credible. (Compl. ¶¶ 29-30, 37-38,

ECF No. 1.)    After his arrest on October 10, 2013, Providence Police

officers executed a search warrant on Plaintiff’s home, during which

Plaintiff alleges they “found no evidence of any kind connecting

[him] to the home invasion.” (Id. ¶¶ 56-57.) Additionally, Defendant

Matos allegedly made comments to Plaintiff’s wife throughout the

investigation indicating that he believed Plaintiff was innocent.

(Id. ¶ 62.)

       Plaintiff   was   held   at   the   Adult   Correctional   Institution

(“ACI”) for approximately ten months before he received a bail

hearing on July 7, 2014. (Id. ¶¶ 43-44, 71.) At the conclusion of

the bail hearing, Plaintiff was ordered to be released to community

confinement.     He was not ultimately released, however, because, the

next day, the Attorney General filed an indictment against Plaintiff

for various crimes related to the home-invasion robbery. (Id. ¶¶ 71,

76.)    Shortly thereafter, on July 23, 2014, Plaintiff was released

to home confinement, where he remained until May 11, 2015, when the

charges against him were dismissed.         (Id. ¶¶ 78-79, 84.)

       On May 7, 2018, Plaintiff filed the instant Complaint alleging

three counts of malicious prosecution against all Defendants arising

under 42 U.S.C. § 1983, the Rhode Island Constitution, and Rhode

Island common law.       The Complaint alleges that Defendants continued

to detain Plaintiff and investigate his involvement in the home-



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invasion robbery despite their “actual and constructive knowledge .

. . that there was no probable cause to connect [Plaintiff] to this

crime.” (Id. ¶ 82.)          Plaintiff seeks compensatory and punitive

damages and attorneys’ fees, a declaratory judgment that Defendants

violated his constitutional rights, and injunctive relief requiring

the “City and State to properly train, supervise, and discipline

their agents relative to the a) constitutionally protected rights of

individuals . . . b) the duty to continue to investigate where a

purported eye witness identification lacks credibility; and, c) the

duty to cease continued detention and prosecution” in the absence of

probable cause. (Id. at 17.)        Defendant State of Rhode Island (“the

State”) moved to dismiss the Complaint, alleging that it is not a

“person” subject to suit under 42 U.S.C. § 1983 and that it is

entitled    to   absolute    prosecutorial    immunity   for   all    remaining

counts.

II.   Applicable Law

       In ruling on a motion to dismiss, the Court must “accept the

well-pleaded facts as true, viewing factual allegations in the light

most favorable to the plaintiff.” Rederford v. U.S. Airways, Inc.,

589 F.3d 30, 35 (1st Cir. 2009).       However, “[t]o survive a motion to

dismiss,    a    complaint   must   contain   sufficient    factual    matter,

accepted as true, to ‘state a claim to relief that is plausible on

its face.’ . . . A claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable



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inference that the defendant is liable for the misconduct alleged.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 556, 570 (2007)). Accordingly, in judging

the sufficiency of a complaint, the Court must “differentiate between

well-pleaded     facts,    on   the   one   hand,     and   bald   assertions,

unsupportable     conclusions,    periphrastic      circumlocution,   and   the

like, on the other hand; the former must be credited, but the latter

can safely be ignored.” LaChapelle v. Berkshire Life Ins., 142 F.3d

507, 508 (1st Cir. 1998) (quotations omitted).

III. Arguments

       The State argues that the Complaint must be dismissed pursuant

to Rule 12(b)(6) of the Federal Rules of Civil Procedure for three

reasons.    First, the State is not a “person” under 42 U.S.C. § 1983

and therefore cannot be sued under that statute. (See State’s Motion

6.)    Second, “Plaintiff’s claim against the State is based solely on

the alleged actions taken by the Department of the Attorney General

while functioning as a prosecutor; such a claim cannot proceed

because of absolute prosecutorial immunity.” (Id. at 1.)            And third,

“the    principles    of   prosecutorial     independence     which    support

[absolute    prosecutorial]     immunity,   coupled    with   sensitivity   to

separation of powers concerns and the reluctance of the federal

courts to interfere with state criminal process, counsel against any

injunctive relief in these circumstances.” (Id. at 10-11 (quoting

Harrington v Almy, 977 F.2d 37, 42 (1st Cir. 1992).)           The State also



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asks that judgment enter in its favor pursuant to Rule 54(b), which

provides that “the court may direct entry of a final judgment as to

one or more, but fewer than all, claims or parties only if the court

expressly determines that there is no just reason for delay.” Fed.

R. Civ. P. 54(b).

       Plaintiff concedes that the State cannot be sued under 42 U.S.C.

§ 1983 and that Count I must therefore be dismissed as against the

State.    As to Counts II and III, he contends that the Rhode Island

Supreme     Court    has   not    yet        “squarely    determined”    whether

prosecutorial immunity protects the State from “damages under the

State Constitution or common law for malicious prosecution.” (Pl.’s

Mem. in Supp. of Opp’n 10, ECF No. 15-1.)             In support of this point,

he argues that the Rhode Island General Assembly clearly intended to

extinguish prosecutorial immunity when it enacted the Governmental

Tort   Liability    Act,   R.I.   Gen.   Laws     §   9-31-1,   et   seq.,   which

eradicated sovereign immunity. (Id. at 11.)

       Alternatively, Plaintiff contends that, even if the State is

entitled to absolute prosecutorial immunity, such immunity would

apply “only narrowly to actual prosecutorial functions” and not to

the investigative actions prior to Plaintiff’s indictment on July 8,

2014. (Id. at 15, 17.)      He also contends that the non-prosecutorial

actions of the John Doe defendants and of Defendant Matos “may be

imputed to the State” and that prosecutorial immunity would not

extend to those actors. (Id. at 17.)           Finally, Plaintiff argues that



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a Rule 54(b) judgment is inappropriate here because “there is simply

no special or compelling reason to enter the rare and disfavored

Rule 54(b) certification.” (Id. at 21.)

IV.   Analysis

         A. Viability of 42 U.S.C. § 1983 Claims Against the State

      The parties agree that the State cannot be liable for damages

or injunctive relief in an action brought pursuant to 42 U.S.C. §

1983 because the State is not considered a “person” under that

statute. (See State’s Motion 5-6; Pl.’s Mem. in Supp. of Opp’n 10.)

Accordingly, Plaintiff’s § 1983 claim against the State must be

dismissed.     See 42 U.S.C. §1983; Will v. Michigan Dept. of State

Police, 491 U.S. 58, 71 (1989) (“[N]either a State nor its officials

acting in their official capacities are ‘persons’ under § 1983.”);

Johnson v. Rodriguez, 943 F.2d 104, 108 (1st Cir. 1991) (“It is

settled beyond peradventure . . . that neither a state agency nor a

state official acting in his official capacity may be sued for

damages in a section 1983 action.”); Nicolas v. Rhode Island, 160 F.

Supp. 2d 229, 232 (D.R.I. 2001), aff’d, 37 F. App’x 3 (1st Cir. 2002)

(“[A] § 1983 suit can not be brought against a state for monetary

damages or for injunctive relief since a state is not considered a

‘person’ as that term is defined in 42 U.S.C. § 1983. Thus, plaintiff

cannot maintain a suit directly against the state.”) (citations

omitted).




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         B. Malicious Prosecution in Violation of the Rhode Island
            Constitution and common law.

       Despite Plaintiff’s contentions to the contrary, the Rhode

Island      Supreme    Court     has,     on    numerous     occasions,     “squarely

determined”     that    absolute        prosecutorial      immunity   protects      the

Attorney     General    from     having    to   litigate     claims   of    malicious

prosecution that arise under the state Constitution and common law.

(Pl.’s Mem. in Supp. of Opp’n 10.); see Mall at Coventry Joint

Venture v. McLeod, 721 A.2d 865, 870 (R.I. 1998); Calhoun v. City of

Providence, 390 A.2d 350, 356-57 (R.I. 1978); Suitor v. Nugent, 199

A.2d 722, 724 (1964).       Accordingly, Plaintiff’s claims for malicious

prosecution arising under the Rhode Island Constitution and common

law are barred by the application of absolute prosecutorial immunity.

Such immunity protects the Attorney General from prosecution both as

an individual and as an entity. See Calhoun, 390 A.2d at 356 (“While

immunizing     officials    from    personal       liability    is,   of   course,   a

separate concept from governmental immunity . . . even when the state

is the defendant, recovery should be denied the injured party.”).

This   is    true   both   for    his    damages    claims    and   his    claims   for

injunctive and declaratory relief. See Harrington, 977 F.2d at 42

(“[T]he absolute immunity prosecutors enjoy from all civil actions

arising out of their charging decisions bars any damages . . .

Moreover, respect for the principles of prosecutorial independence

which support such immunity, coupled with sensitivity to separation

of powers concerns and the reluctance of the federal courts to


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interfere    with    state    criminal       process,        counsel   against     any

injunctive relief . . . .”).

          C. The State’s Liability for Pre-Indictment                    Actions    of
             Prosecutors and Actions of Other Defendants

       The only remaining issues are whether the State in this case

can be held liable for investigatory actions taken by prosecutors

before Plaintiff’s indictment on July 8, 2014, and whether the State

can be held liable for the non-prosecutorial actions of Defendant

Matos and the John Doe defendants. The Court finds that the Complaint

does not plead facts sufficient to support these allegations.1

       First, the Complaint does not allege any facts suggesting that

any state prosecutors participated in this case prior to the bail

hearing on July 7, 2014.           In fact, the only facts in the Complaint

implicating state actors relate to Plaintiff’s detention at the ACI,

testimony elicited at the bail hearing, and the filing of the

indictment. (See Compl. ¶¶ 63-67, 69-72, 74-84.) Conducting the bail

hearing     and   filing     the     indictment        are    unequivocally      “core

prosecutorial       functions”      entitled      to     absolute      prosecutorial

immunity. See, e.g., Imbler v. Pachtman, 424 U.S. 409, 430 (1976)

(“We hold only that in initiating a prosecution and in presenting

the State's case, the prosecutor is immune from a civil suit . . .

.”).    While Plaintiff’s detention at the ACI does not constitute a


1    It is worth noting that the State identified deficiencies in
this part of Plaintiff’s argument in its Reply (ECF No. 17), filed
on August 14, 2018, and yet, in the intervening two months, Plaintiff
has not moved to amend his Complaint to cure these deficiencies.

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core prosecutorial function, it is also largely irrelevant to his

claims of malicious prosecution. Except insofar as they clarify that

he   was   detained   while   the   allegedly   malicious     prosecution   was

ongoing, Plaintiff’s allegations about his detention at the ACI are

beside the point. As such, the only relevant facts pled against state

actors pertain to “core prosecutorial functions” that are entitled

to absolute prosecutorial immunity.

      Second, the Complaint alleges no facts to support Plaintiff’s

argument that the State may be liable for the actions of Defendant

Matos.     Plaintiff’s assertion that Defendant Matos “is also, for the

purposes of this case, an agent of the State to the extent to [which]

he was directed by and worked at the behest of the Attorney General’s

office” cannot withstand even them most cursory scrutiny under

Twombly and Iqbal. (Pl.’s Mem. in Supp. of Opp’n 17.)           At the outset,

Plaintiff concedes that Defendant Matos was “an employee of the City

of Providence, and obviously an agent of said City.” (Id.) Moreover,

the Complaint includes no facts, much less well-pleaded facts,

showing that Defendant Matos was “work[ing] at the behest of the

Attorney General’s office.” (Id.)          The only facts in the Complaint

that pertain to Defendant Matos mention his involvement in witness

interviews,    conversations    with   Plaintiff’s    wife,    and   one   brief

comment to Plaintiff after his arrest – actions clearly within the

purview of his duties as an investigating police officer. (See Compl.

¶¶ 27-29, 32-33, 36-37, 52-59, 61-62, 69-70.)          While it is entirely



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 possible that Defendant Matos was working at the behest of the

 Attorney General at some point during the investigation, the mere

 possibility is insufficient; Plaintiff must state a claim for relief

 that is plausible.       See Iqbal, 556 U.S. at 678.       He has not done so

 here.

         Finally, the Court concludes that Plaintiff cannot maintain an

 action against the State based on unpled, unspecified actions of

 unserved and unidentified John Doe Defendants; doing so would turn

 the pleading standard on its head. Plaintiff includes only one

 allegation specifically against the John Doe Defendants:

              “On information and belief, Defendants John Does
              1-10, including but not limited to Defendant
              City and Defendant State policy-makers and
              decision makers, individually and/or jointly
              with other Defendants, proximately caused,
              materially   participated    in,   and/or   were
              otherwise responsible for the arrest, detention,
              prosecution   and   continued    detention   and
              prosecution of Plaintiff without probable cause
              as complained herein.”

 (Compl. ¶ 91.)        However, the Complaint includes no specific facts

 explaining what actions “State policy-makers and decision makers”

 may have taken that violated Plaintiff’s constitutional or common

 law rights. (see id.) In essence, Plaintiff asks the Court to guess

 at what the State (or its alleged agents) may or may not have done

 that could serve as the basis for Plaintiff’s claims.                 Plaintiff

 counters that he is not required to plead specific facts because,

 “at   this    early    stage,   he   lacks   information   relative    to   the

 investigatory process and the roles of the various Defendants – both


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 known and unknown – in that process.”2 (Pl.’s Mem. in Supp. of Opp’n

 19.) However, Plaintiff’s contention that he should be able to engage

 in discovery prior to alleging a plausible claim for relief is

 precisely the argument that turns the pleading standard on its head.

 Rule 8 “does not unlock the doors of discovery for a plaintiff armed

 with nothing more than conclusions.” Iqbal, 556 U.S. at 678-79.

 Accordingly, Plaintiff’s argument that the State’s might possibly be

 liable for the non-prosecutorial actions of other defendants does

 not pass muster under Twombly and Iqbal.

           D. Rule 54(b) Judgment

        Because    there    is    a   “strong    judicial     policy    disfavoring

 piecemeal appellate review,” Kersey v. Dennison Mfg. Co., 3 F.3d

 482, 487 (1st Cir. 1993), the First Circuit has established a two-

 step   process    for     assessing      whether      Rule   54(b)    judgment   is

 appropriate: (1) the district court must consider whether judgment

 will dispose of all the rights and liabilities of at least one party

 as to at least one claim; and (2) the district court must carefully

 compare    the   dismissed      claims   with   the    unadjudicated    claims   to

 determine whether there is substantial overlap between the two that




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      Plaintiff also claims that “he has been denied access to the
 grand jury transcripts and has not had the opportunity to engage in
 any discovery whatsoever.” (Pl.’s Mem. in Supp. of Opp’n 17.) Per
 the State’s request, the Court takes judicial notice of the fact
 that the State provided grand jury transcripts to Plaintiff during
 his underlying criminal proceeding in Providence County Superior
 Court on August 7, 2014. See Order at 1, State of R.I. v. Richardson,
 P1-14-2088B (August 7, 2014).

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 would hamper the equities and efficiencies of appellate review.            See

 Credit Francais Int’l, S.A. v. Bio-Vita, Ltd., 78 F.3d 698, 706 (1st

 Cir. 1996).

         Here, the State’s Motion is based on legal arguments that are

 unique to it and not applicable to the remaining defendants and, as

 such,    dismissal   would   resolve    all   claims   against    the   State.

 Additionally, while the claims against the State and the claims

 against the other Defendants arise out of the same general set of

 circumstances, there is nothing to indicate that the claims so

 substantially overlap that entering judgment in favor of the State

 would hamper the equities and efficiencies of appellate review of

 any     other   claims.      Accordingly,     the   doctrine     of   absolute

 prosecutorial immunity entitles the State to judgment as a matter of

 law and the Court sees “no just reason for delay” in entering that

 judgment. Fed. R. Civ. P. 54(b).

 V.      Conclusion

         For the foregoing reasons, the State’s Motion to Dismiss (ECF

 No. 12) is GRANTED and Plaintiff’s claims as against the State are

 hereby DISMISSED with prejudice.

 IS IT SO ORDERED.




  William E. Smith
  Chief Judge
  Date: October 30, 2018




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